Case 5:10-cr-00038-R Document 12 Filed 02/02/10 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT FOR THE F | L E D

WESTERN DISTRICT OF OKLAHOMA

 

UNITED STATES OF AMERICA,

Plaintiff,

CR 10-038 R

Violations: 26 U.S.C. § 5861(d)
26 U.S.C. § 5872
28 U.S.C. § 2461(c)

-VS-

 

CHARLES ALAN DYER,

Nee ree Nee ee ee “ee” “Nee” “Nee” Nee”

Defendant.
INDICTMENT.

The Federal Grand Jury charges:

COUNT 1

On or about January 12, 2010, in Stephens County, Oklahoma, in the Western District

of Oklahoma,

 

 

CHARLES ALAN DYER ,

the defendant herein, knowingly possessed a firearm not registered to him in the National
Firearms Registration and Transfer Record, specifically a destructive device, that is, a Colt

M-203, 40 millimeter grenade launcher, bearing serial number 49553.
Case 5:10-cr-00038-R Document 12 Filed 02/02/10 Page 2 of 2

All in violation of Title 26, United States Code, Section 5861(d) and Title 26,
United States Code, Section 5845(f), the penalty for which is found at Title 26, United
| States Code, Section 5871.
| FORFEITURE
Upon conviction of the offense in violation of Title 26, United States Code, Section
5861and Title 26, United States Code, Section 5861(d) set forth in Count | of the Indictment,
the defendant shall forfeit to the United States, pursuant to Title 26, United States Code,
Section 5872 and Title 28, United States Code, Section 2461(c), any firearm involved in the
commission of the offense, including, but not limited to a Colt M-203, 40 millimeter grenade
launcher, serial number 49553.
All in violation of Title 26, United States Code, Section 5872 and Title 28, United

States Code, Section 2461(c).

A TRUE BILL:

FOREPERSON OF THE ihe

 

SANFORD C. COATS

 
